     Case 2:20-cv-10793-VAP-GJS Document 11 Filed 03/01/21 Page 1 of 26 Page ID #:52




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12
                          FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
                                           WESTERN DIVISION
14
      OSCAR ENRIQUE NUNEZ                                No. 2:20-cv-10793-VAP-(GJSx)
15    EUCEDA,
                                                         Hearing Date:       March 29, 2021
16                 Plaintiff,                            Hearing Time:       2:00 p.m.
                                                         Courtroom:          8A, First Street
17                         v.                                                Courthouse
18 UNITED STATES OF AMERICA,
19                 Defendant.                            Honorable Virginia A. Phillips
20
21
22                 DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS
23                                PLAINTIFF’S COMPLAINT AND ACTION
24
25
26
             1
27              Admitted to practice under Local Rule 83-2.1.4.1. See Order, In Re Application Of Talya M.
      Seidman For Admission Pursuant To Local Rule 83-2.1.4.1, C.D. Cal. No. 2:20-CM-00215-PSG (Nov.
28    9, 2020).
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 1                    NOTICE OF MOTION AND MOTION TO DISMISS
 2          PLEASE TAKE NOTICE that, on Monday, March 29, 2021 at 2 p.m., or as soon
 3    thereafter as it may be heard, Defendant United States of America will, and hereby does,
 4    move this Court for an order dismissing Plaintiff’s action without leave to amend. This
 5    motion will be made in Courtroom 8A of the First Street Courthouse located at 350 West
 6    1st Street, Los Angeles, CA 90012 before the Honorable Virginia A. Phillips, United
 7    States District Judge.
 8          Defendant brings the motion under Federal Rule of Civil Procedure 12(b)(1) for
 9    lack of subject matter jurisdiction or, in the alternative, pursuant to Fed. R. Civ. P.
10    12(b)(6) for failure to state a claim upon which relief can be granted. In the alternative,
11    Defendant requests that the Court transfer this action to the Southern District of Texas
12    pursuant to 28 U.S.C. §§ 1391(c)(1), 1406(a).
13          This motion is made upon this Notice, and all pleadings, records, and other
14    documents on file with the Court in this action, and upon such oral argument as may be
15    presented at the hearing of this motion.
16          This Motion follows the meeting of counsel required by Local Rule 7-3 which
17    took place on February 22, 2021.
18     Dated: March 1, 2021                       Respectfully submitted,
19                                                TRACY L. WILKISON
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24                                                   /s/ David Pinchas
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 1     I.    INTRODUCTION
 2           Defendant United States of America respectfully moves to dismiss this action
 3     pursuant to Fed. R. Civ. P. 12(b)(1) for lack of subject matter jurisdiction or, in the
 4     alternative, pursuant to Fed. R. Civ. P. 12(b)(6) for failure to state a claim, based on the
 5     grounds set forth below in the memorandum in support.
 6           Plaintiff Oscar Enrique Nunez Euceda (“Plaintiff”) brings this action against the
 7     United States under the Federal Tort Claims Act, 28 U.S.C. §§ 1346(b)(1), 2671-2680
 8     (“FTCA”), seeking damages based on his detention and separation from his children. The
 9     United States has denounced the prior practice of separating children from their families
10     at the United States-Mexico border and committed itself to family reunification. See
11     Executive Order on the Establishment of Interagency Task Force on the Reunification of
12     Families,   Feb.    2,    2021,    available       at   https://www.whitehouse.gov/briefing-
13     room/presidential-actions/2021/02/02/executive-order-on-the-establishment-of-
14     interagency-task-force-on-the-reunification-of-families/.
15           Nevertheless, Plaintiff’s claims are barred for multiple reasons. First, Plaintiff’s
16     claims are barred because the FTCA does not authorize recovery for “constitutional torts”
17     like those Plaintiff pursues here. Second, Plaintiff’s claims are barred by the discretionary
18     function exception to the FTCA, 28 U.S.C. § 2680(a), which shields the United States
19     from liability for discretionary decision-making relating to enforcement of federal
20     criminal and immigration law. Third, Plaintiff’s claims are barred by the due care
21     exception to the FTCA, because the government actions that resulted in the separation
22     were authorized by federal criminal and immigration law. Id. Fourth, there is no private
23     person analog for Plaintiff’s claims, as required for a waiver of sovereign immunity under
24     28 U.S.C. § 1346(b)(1), because the claims arise out of the enforcement of federal statutes,
25     determinations relating to immigration status, and decisions regarding confinement that
26     are activities in which only the government, and not private parties, may engage. In the
27     alternative, this action should be transferred to the Southern District of Texas pursuant to
28     28 U.S.C. §§ 1391(c)(1), 1404, 1406.
                                                      1
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 1     II.   BACKGROUND
 2                 Legal Framework for Aliens Entering the United States Unlawfully
 3           Under the Immigration and Nationality Act (“INA”), any alien present in the United
 4     States without being admitted or paroled is inadmissible and subject to removal. See 8
 5     U.S.C. § 1182(a)(6)(A)(i). Such individuals may also be subject to prosecution for
 6     criminal immigration violations, including entering the United States “at any time or place
 7     other than as designated by immigration officers” and eluding “examination or inspection
 8     by immigration officers.” 8 U.S.C § 1325.
 9           Aliens present in the United States without being admitted are considered
10     “applicant[s] for admission” and are “inspected by immigration officers” to assess the
11     validity of their claims. See 8 U.S.C. §§ 1225(a)(1), (a)(3), (b). The INA “mandate[s]
12     detention of applicants for admission until certain [removal] proceedings have concluded.”
13     Jennings v. Rodriguez, 138 S. Ct. 830, 842 (2018). Specifically, such aliens “shall be
14     detained pending a final determination of credible fear prosecution and, if found not to
15     have such fear, until removed.” 8 U.S.C. § 1225(b)(1)(B)(iii)(IV) and (b)(2)(A). The
16     Department of Homeland Security (“DHS”) may in its “discretion” grant parole and
17     release such individuals only under prescribed circumstances on a “case-by-case basis.”
18     8 U.S.C. § 1182(d)(5); 8 C.F.R. §§ 235.3(b)(2)(iii) and (b)(4)(ii).
19           The detention of aliens is further authorized by 8 U.S.C. § 1226(a), which provides
20     that “an alien may be arrested and detained pending a decision on whether the alien is to
21     be removed from the United States.” The federal government possesses statutory authority
22     to “arrange for appropriate places of detention for aliens detained pending removal or a
23     decision on removal.” See 8 U.S.C. § 1231(g)(1).
24                 Legal Framework for Immigration Custody and Release of Minors
25           Federal immigration law authorizes the United States to provide for the custody and
26     care of minor children entering the United States unlawfully. See 6 U.S.C. § 279 and 8
27     U.S.C. § 1232. Specifically, the Department of Health and Human Services’ Office of
28     Refugee Resettlement (“ORR”) is charged with “the care and placement of
                                                    2
     Case 2:20-cv-10793-VAP-GJS Document 11 Filed 03/01/21 Page 12 of 26 Page ID #:63




 1     unaccompanied alien children who are in federal custody by reason of their immigration
 2     status.” 6 U.S.C. § 279(a), (b)(1)(A), (b)(1)(C); see also 8 U.S.C. § 1232(b)(1). The term
 3     “unaccompanied alien child” or “UAC” is defined as a child who: (1) “has no lawful
 4     immigration status in the United States”; (2) “has not attained 18 years of age”; and (3)
 5     “with respect to whom . . . there is no parent or legal guardian in the United States [or] no
 6     parent or legal guardian in the United States is available to provide care and physical
 7     custody.” 6 U.S.C. § 279(g)(2).
 8           Under the Trafficking Victims Protection Reauthorization Act of 2008, 8 U.S.C. §
 9     1232(b)(3) (“TVPRA”) “[e]xcept in the case of exceptional circumstances, any
10     department or agency . . . shall transfer the custody of such child to [ORR] not later than
11     72 hours after determining that such child is an unaccompanied alien child.” ORR seeks
12     to place UACs “in the least restrictive setting that is in the best interest of the child.” 8
13     U.S.C. § 1232(c)(2)(A). However, ORR “shall not release such children upon their own
14     recognizance.” 6 U.S.C. § 279(2)(B).
15           In addition to this legal framework, the federal government entered into a consent
16     decree (the Flores Agreement) 2 enforced in the Central District of California that “sets out
17     nationwide policy for the detention, release, and treatment of minors in the custody of the
18     [immigration authorities].” Flores v. Lynch, 828 F.3d 898, 901 (9th Cir. 2016) (citing
19     Flores Agreement ¶ 9). Under the Flores Agreement, “[w]ithin five days of arrest, [DHS]
20     must transfer the minor to a non-secure, licensed facility[.]” Id. at 902-03 (quoting Flores
21     Agreement ¶ 12).
22           However, the Flores Agreement “does not address . . . the housing of family units
23     and the scope of parental rights for adults apprehended with their children[,]” and it “does
24     not contemplate releasing a child to a parent who remains in custody, because that would
25     not be a ‘release.’” Id. at 906; see also United States v. Dominguez-Portillo, No. 17-MJ-
26     4409, 2018 WL 315759, at *9 (W.D. Tex. Jan. 5, 2018) (“[Flores] does not provide that
27
28           2
                 See Flores v. Sessions, No. 85-cv-4544 (C.D. Cal. Feb. 2, 2015) (ECF 101).
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     Case 2:20-cv-10793-VAP-GJS Document 11 Filed 03/01/21 Page 13 of 26 Page ID #:64




 1     parents are entitled to care for their children if they were simultaneously arrested by
 2     immigration authorities[.]”). Nor does the Flores Agreement provide any rights to adult
 3     detainees, including any rights of release. Flores, 828 F.3d at 908; see also Dominguez-
 4     Portillo, 2018 WL 315759, at *14-15; Bunikyte v. Chertoff, No. 07-164, 2007 WL
 5     1074070, at *16 (W.D. Tex. Apr. 9, 2007). While the Flores Agreement gives preference
 6     to release of minors to a parent, this preference “does not mean that the government must
 7     also make a parent available; it simply means that, if available, a parent is the first choice.”
 8     Flores, 828 F.3d at 908.
 9                 Prior Executive Branch Directives Regarding Immigration Enforcement
10           During the time period relevant to this action, the Executive Branch issued several
11     directives regarding enforcement of federal immigration laws in response to a “surge of
12     illegal immigration at the southern border with Mexico” and the operation of
13     “sophisticated drug- and human-trafficking networks.” Executive Order 13767 § 1, 82
14     Fed. Reg. 8793 (Jan. 30, 2017). In January, 2017, the President issued Executive Order
15     No. 13767 (“EO 13767”) stating that “[i]t is the policy of the executive branch to . . . detain
16     individuals apprehended on suspicion of violating Federal or State law, including Federal
17     immigration law, pending further proceedings regarding those violations[.]” Id. § 2(b).
18     EO 13767 directed DHS to “ensure the detention of aliens apprehended for violations of
19     immigration law pending the outcome of their removal proceedings or their removal from
20     the country to the extent permitted by law[,]” id. § 6, and to exercise its parole authority
21     “only on a case-by-case basis in accordance with the plain language of the statute . . . and
22     in all circumstances only when an individual demonstrates urgent humanitarian reasons or
23     a significant public benefit derived from such parole.” Id. § 11(d). On April 11, 2017,
24     DOJ issued guidance to all federal prosecutors regarding a renewed commitment to
25     criminal immigration enforcement, and directed that federal law enforcement prioritize
26     the prosecution of several immigration offenses, including illegal entry under 8 U.S.C. §
27     1325, noting that “[c]onsistent and vigorous enforcement of key laws will disrupt
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 1     organizations and deter unlawful conduct.”3
 2           On April 6, 2018, the Attorney General issued a “Memorandum for Federal
 3     Prosecutors along the Southwest Border.” U.S. DOJ, News Release: Attorney General
 4     Announces Zero-Tolerance Policy for Criminal Illegal Entry (April 6, 2018), DOJ 18-417,
 5     2018 WL 1666622 (hereinafter the “Zero Tolerance Memorandum”). The memorandum
 6     directed federal prosecutors along the southwest border to immediately accept for
 7     prosecution, to the extent practicable, all § 1325(a) offenses referred for prosecution. Id.
 8     Consistent with EO 13767, and the April 2018 the Zero Tolerance Memorandum, DHS
 9     referred for prosecution adult aliens – including those traveling with children – who
10     unlawfully entered the United States on the southwest border in violation of § 1325 or
11     other statutory provisions authorizing criminal prosecution. Minor children of those adults
12     were transferred to ORR custody as UACs.
13                 Allegations of Plaintiff’s Complaint
14           On or about May 19, 2018, Plaintiff unlawfully crossed the United States border
15     into Texas between ports of entry with his minor children, O.N.A. and T.N.A., in violation
16     of 8 U.S.C. § 1325. Complaint ¶¶ 6-8. Shortly after crossing, Plaintiff and his children
17     were apprehended by Customs and Border Protection (“CBP”) officers and transported to
18     a nearby holding center. Id. ¶¶ 24-27. Consistent with the Executive Branch enforcement
19     directives discussed above, Plaintiff was detained and separated from his children as he
20     was transported from the CBP holding facility to ICE Port Isabel Service Processing
21     Center. Id. ¶¶ 8, 28.
22           Plaintiff was detained at the Port Isabel Service Processing Center for
23     approximately one to two weeks. Id. ¶¶ 8, 31-33. He was then transferred to a Detention
24     Center in Los Fresnos, Texas, where he was detained for approximately one to two more
25     weeks. Id. ¶¶ 35-36. Plaintiff was briefly transferred back to the ICE Port Isabel Center
26     and then deported back to the Honduras, approximately one month after his initial illegal
27
             3
                See U.S. DOJ, Memorandum on Renewed Commitment to Criminal Immigration Enforcement
28     (April 11, 2017), available at https://www.justice.gov/opa/press-release/file/956841/download.
                                                     5
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 1     entry into the United States. Id. ¶ 40. Both of Plaintiff’s minor children, O.N.A. and
 2     T.N.A., were released to their mother in North Carolina. Id. ¶ 47.
 3            Over two years later, Plaintiff filed this lawsuit against the United States seeking
 4     money damages pursuant to the FTCA, seeking redress for the “forced separation of
 5     [Plaintiff] from his children by the government of the United States when they arrived
 6     here seeking asylum.” Id. ¶ 1. Plaintiff alleges that he and his children were subjected to
 7     the same “family separation policy” ruled “unconstitutional” on due process grounds in
 8     Ms. L. v. ICE, 310 F. Supp. 3d 1133 (S.D. Cal. 2018). Complaint ¶¶ 4-5, 20-21, 57-58,
 9     61-64. In addition, Plaintiff alleges that the separation practices were unconstitutional
10     because they were “motivated by discriminatory animus toward Latino immigrants of
11     Central American origin.” Id. ¶ 63.
12     III.   ARGUMENT
13                 Plaintiff’s Claims Are Barred Because the FTCA Does Not Authorize
14                 Recovery For Constitutional Torts.
15            The United States enjoys broad immunity from suit and “can be sued only to the
16     extent that it has waived its immunity.” United States v. Orleans, 425 U.S. 807, 814
17     (1976). Accordingly, absent a specific waiver, sovereign immunity bars a suit against the
18     government for lack of subject matter jurisdiction. See FDIC v. Meyer, 510 U.S. 471, 475-
19     76 (1994). While the FTCA provides a limited waiver of sovereign immunity that
20     authorizes suits against the United States for certain common-law tort claims, the Supreme
21     Court has held that the FTCA does not provide a cause of action for torts involving alleged
22     constitutional violations. Id. at 477-78. As the Supreme Court explained in Meyer, a claim
23     is actionable under the FTCA only if the United States would be liable as a private person
24     in accordance with the law of the place where the act or omission occurred. Id. (quoting
25     28 U.S.C. § 1346(b)). “A constitutional tort claim . . . could not contain such an
26     allegation.” Id. at 477. Accordingly, “the United States simply has not rendered itself
27     liable under § 1346(b) for constitutional tort claims.” Id.
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 1           Here, the essence of the Complaint is that Plaintiff should recover for alleged
 2     violations of his constitutional rights. Complaint ¶¶ 20-21; 61-64.
 3                 Plaintiff’s Claims Are Barred by the FTCA’s Discretionary Function
 4                 Exception
 5           Plaintiff’s claims further fail because they fall within express exceptions in the
 6     FTCA that “are designed to protect certain important governmental functions and
 7     prerogatives from disruption.” Molzof v. United States, 502 U.S. 301, 311 (1992). One
 8     such exception – the “discretionary function” exception – bars “[a]ny claim” that is “based
 9     upon the exercise or performance or the failure to exercise or perform a discretionary
10     function or duty on the part of a federal agency or an employee of the Government,
11     whether or not the discretion involved be abused.” 28 U.S.C. § 2680(a). As the legislative
12     history of the FTCA explains, the statute was “not intended to authorize suit for damages
13     to test the validity of or provide a remedy on account of such discretionary acts even
14     though negligently performed and involving an abuse of discretion.” H.R. Rep. No. 77-
15     2245, 77th Cong., 2d Sess., at 10.
16           The discretionary function exception bars claims based on acts that “involve an
17     element of judgment or choice” and are “based on considerations of public policy.” United
18     States v. Gaubert, 499 U.S. 315, 322-23 (1991) (citation and internal quotation marks
19     omitted). “The basis for the discretionary function exception was Congress’ desire to
20     ‘prevent judicial “second-guessing”’ of legislative and administrative decisions grounded
21     on social, economic, and political policy through the medium of an action in tort.”
22     Berkovitz v. United States, 486 U.S. 531, 536-37 (1988).
23           Under this exception, courts will look at whether the conduct at issue is “susceptible
24     to policy analysis.” Ferguson v. United States, 792 Fed. Appx. 494, 495 (9th Cir. 2020).
25     “The focus of the inquiry is not on the agent’s subjective intent in exercising the discretion
26     conferred by statute or regulation.” Gaubert, 499 U.S. at 325 (emphasis added). Rather,
27     “[w]hen established governmental policy, as expressed or implied by statute, regulation,
28     or agency guidelines, allows a Government agent to exercise discretion, it must be
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 1     presumed that the agent’s acts are grounded in policy when exercising that discretion.” Id.
 2     at 324; see also Gonzalez v. United States, 814 F.3d 1022, 1027-28 (9th Cir. 2016).
 3           In sum, if the challenged actions “involve an element of judgment or choice” and
 4     are “susceptible to” policy analysis, the discretionary function exception applies and the
 5     complaint must be dismissed for lack of subject matter jurisdiction, regardless of whether
 6     the government acted negligently or abused its discretion. See Gaubert, 499 U.S. at 323;
 7     Barian v. United States, 728 Fed. Appx. 703, 704 (9th Cir. 2018); Gordon v. United States,
 8     739 Fed. Appx. 408 (9th Cir. 2018) (affirming dismissal of action pursuant to Rule
 9     12(b)(1)); Gonzalez v. United States, 814 F.3d 1022 (9th Cir. 2016) (same).
10           Plaintiff’s claims are barred because they involve precisely the sort of discretionary
11     decision-making that is shielded by the FTCA. Whether the discretionary decisions were
12     in support of a policy that remains in place or one that has subsequently been rejected (as
13     is the case here), they remain discretionary decisions that cannot give rise to liability under
14     the FTCA. As the Supreme Court has recognized, “[t]he Attorney General and United
15     States Attorneys retain ‘broad discretion’ to enforce the Nation’s criminal laws.” United
16     States v. Armstrong, 517 U.S. 456, 464 (1996). Indeed, “[t]he Supreme Court has long
17     recognized that ‘the Executive Branch has exclusive authority and absolute discretion to
18     decide whether to prosecute a case.’” In re Sealed Case, 829 F.2d 50, 63 (D.C. Cir. 1987)
19     (quoting United States v. Nixon, 418 U.S. 683, 693 (1974)); Smith v. United States, 375
20     F.2d 243, 247 (5th Cir. 1967) (“decisions concerning enforcement” are matter of
21     “discretion”).
22           Concerns about “subjecting the prosecutor’s motives and decision making to
23     outside inquiry” are magnified in the immigration context. Reno v. Am.-Arab Anti-
24     Discrimination Comm., 525 U.S. 471, 490 (1999). This is because the “country’s border-
25     control policies are of crucial importance to the national security and foreign policy of the
26     United States.” United States v. Delgado-Garcia, 374 F.3d 1337, 1345 (D.C. Cir. 2004).
27     Further, law enforcement authorities have discretionary decision-making authority
28     regarding detention and conditions of confinement. Thus, for example, “Congress has
                                                     8
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 1     placed the responsibility of determining where aliens are detained within the discretion of
 2     the Attorney General.” Cmtte. Of Cent. Am. Refugees v. I.N.S., 795 F.2d 1434, 1440 (9th
 3     Cir. 1986) (emphasis added). Indeed, decisions relating to aliens, including placement and
 4     detention, are so “vitally and intricately interwoven with contemporaneous policies [and]
 5     so exclusively entrusted to the political branches of government as to be largely immune
 6     from judicial inquiry or interference.” Id. (quoting Hampton v. Mow Sung Wong, 426 U.S.
 7     88 (1975)).4
 8            Where children are involved, there are many additional policy considerations to take
 9     into account. As is evidenced by the regulatory framework outlined above, government
10     officials are required to take into account not only a number of law enforcement
11     considerations, but also child welfare considerations, such as what is in the “best interests
12     of the child.” See 8 U.S.C. § 1232(c)(2)(A). Such decisions relating to health and welfare
13     are the very sort of discretionary decisions that the discretionary function exception was
14     designed to protect.
15            Plaintiff was detained pursuant to the government’s then-existing policy to enforce
16     existing immigration law when confronted with a surge in illegal immigration and human-
17     trafficking along the southern border. That decision was not merely “susceptible to” a
18     policy analysis, but the government spelled out the policies it sought to further through its
19     enforcement efforts in a series of specific Executive directives. As other courts have
20     recognized, the “zero tolerance” policy at issue here—which was subsequently revoked—
21     “amounts to exercise of the prosecutorial discretion that Congress and the Constitution
22     confer on the Attorney General.” Mejia-Mejia v. ICE, No. 18-1445, 2019 WL 4707150,
23     at *5 (D.D.C. Sept. 26, 2019); see also Peña Arita v. United States, 470 F. Supp. 3d 663,
24     2020 WL 3542256, at *7 (S.D. Tex. June 30, 2020).
25            4
                See also Mirmehdi v. United States, 662 F.3d 1073, 1081-82 (9th Cir. 2011) (“Because the
26     decision to detain an alien pending resolution of immigration proceedings is explicitly committed to the
       discretion of the Attorney General and implicates issues of foreign policy, it falls within this [FTCA]
27     exception.”); Hernandez v. United States, 83 Fed. Appx. 206 (9th Cir. 2003) (security measures taken
       pertaining to prisoners in a federal detention center are within the FTCA’s discretionary function
28     exception).
                                                          9
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 1            As a result of the government’s discretionary decision to detain Plaintiff, his minor
 2     children were placed in the care and custody of ORR, which was vested with authority to
 3     make a range of discretionary decisions to ensure their health and welfare. In particular,
 4     “[i]t is clear that the ultimate choice of facility for housing unaccompanied alien children
 5     is a decision vested with policy considerations.” Walding v. United States, 955 F. Supp.
 6     2d 759, 772 (W.D. Tex. 2013). Accordingly, the separation that forms the basis of
 7     Plaintiff’s complaint was the consequence of discretionary decision-making, and
 8     Plaintiff’s claims are therefore barred.
 9            Similarly, the Complaint alleges that his minor children were detained for three and
10     seven months (Id. ¶¶ 42-43, 45-47). As outlined above, in the exercise of its discretion,
11     ORR makes decisions regarding the health and safety of children in the government’s care
12     and custody. See 6 U.S.C. § 279(a), (b)(1)(A), (b)(1)(C); see also 8 U.S.C. § 1232(b)(1).
13     There is no specific deadline for release of children to custodians that is imposed by law
14     and such discretionary decisions are the precise sort of decisions that are protected by the
15     FTCA’s discretionary function exception. Id.
16            Likewise, while Plaintiff alleges that in implementing the alleged “family separation
17     policy” in his case, the government violated various alleged “mandatory” obligations
18     regarding conditions of confinement under various regulations and manuals, such claims
19     are barred for the reasons stated above because they are “inextricably intertwined” with
20     the separation. See Sloan v. H.U.D., 236 F.3d 756, 762 (D.C. Cir. 2001) (claims
21     “inextricably tied” or “inextricably linked” to conduct protected by section 2680(a) also
22     barred). Moreover, courts have repeatedly held that such challenges to conditions of
23     confinement are barred by the discretionary function exception because they involve
24     discretionary decisions.5
25            5
                The Complaint references conditions such as the frequency of communications between Plaintiff
26     and his children (Id. ¶¶ 39, 45), lack of responses to requests about his children’s whereabouts and
       wellbeing (id. ¶¶ 8, 30, 34, 38-39, 41, 44, 47), crowding in detention (id. ¶¶ 31-32), amount of food
27     received in detention (id. ¶¶ 8, 32, 36), placement in solitary confinement and rare occasions granted to
       go outside (id. ¶¶ 8, 36), bedding and toilets provided (id. ¶¶ 31-32), and the opportunities to shower and
28
                                                          10
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 1             Indeed, a number of courts have held that conditions of confinement claims are
 2     constitutional claims that cannot be brought under the FTCA. See Sutter v. United States,
 3     No. 17-07245 SVW (DFM), 2019 WL 1841905, at * 4 (C.D. Cal. March 12, 2019)
 4     (“[E]ven though Plaintiff attempts to cloak his claims in terms of negligence, his
 5     [conditions of confinement] claims are constitutional tort claims and as such are not
 6     cognizable under the FTCA.”) (citations omitted); Aguilar v. United States, No. 1:16-048,
 7     2017 WL 6034652, at *4 (S.D. Tex. June 7, 2017) (finding that emotional distress claim
 8     arising from the conditions of confinement allegations regarding food, crowding, and
 9     sanitation at CBP detention facility were more properly characterized as a
10     “‘[c]onstitutional attack[ ] on general conditions, practices, rules, or restrictions of pretrial
11     confinement. . . [and] the United States is not vicariously liable for constitutional torts of
12     its officials since the United States has not waived sovereign immunity from such
13     actions.’”).
14             In Peña Arita v. United States, 470 F. Supp. 3d 663 (S.D. Tex. June 30, 2020), for
15     example, the court dismissed FTCA claims similarly arising from the prior
16     administration’s “family separation policies.” As here, plaintiffs alleged that the “family
17     separation” practices were unlawful and challenged various associated conditions of
18
19     change his clothing (id. ¶ 32). Courts have held that such claims are subject to discretionary decision-
       making involving numerous policy considerations and thus are barred by the discretionary function
20     exception. See, e.g., Bultema v. United States, 359 F.3d 379, 384 (6th Cir. 2004) (decision not to provide
21     bed rails susceptible to policy considerations); Campos v. United States, 888 F.3d 724, 733 (5th Cir.
       2018) (deficiencies in computer database that failed to reveal immigration status protected by
22     discretionary function exception); Cosby v. Marshals Service, 520 F. App’x 819, 821 (11th Cir. 2013)
       (detainee medical care decisions involve “several policy considerations . . . including prison security, the
23     allocation of finite resources, and the logistics of prisoner transportation if transfer to an off-site facility
       is an option”); Patel v. United States, 398 F. App’x 22, 29 (5th Cir. 2010) (discretionary function
24
       exception shielded decision to transfer prisoner to facility with allegedly inadequate medical treatment);
25     Antonelli v. Crow, No. 08-261, 2012 WL 4215024, at *3 (E.D. Ky. Sept. 19, 2012) (collecting cases in
       which myriad conditions of confinement claims, including claims based on temperature and crowding,
26     barred by discretionary function exception); Lineberry v. United States, No. 3:08-cv-0597, 2009 WL
       763052, at *6 (N.D. Tex. Mar. 23, 2009) (“Plaintiff’s allegation of negligent overcrowding falls within
27     the discretionary function exception”); Harrison v. Fed. Bureau of Prisons, 464 F. Supp. 2d 552, 559
       (E.D. Va. 2006) (“[T]he BOP’s provision of telephone services is a matter committed to its discretion
28
       that will not be second-guessed through an FTCA claim.”).
                                                             11
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 1     confinement. Id. at 686-87. In dismissing the claims, the Arita court agreed with the
 2     government that the “family separation policy itself and its implementation by officers in
 3     the field are discretionary.” Id. at 687 (“prosecutorial judgment is a matter of choice, and
 4     obviously grounded in considerations of public policy – such as the United States Attorney
 5     General’s priorities and United States Attorneys’ discretion – that is intended to be
 6     shielded by the discretionary function exception.”). Accordingly, the court concluded that
 7     the challenged decision-making was “‘grounded in social, economic, and policy’”
 8     considerations that the court was “without jurisdiction to second-guess.” Id. (quoting
 9     Gaubert, 499 U.S. at 323). Finally, the Arita court held that, “to the extent Plaintiffs
10     attempt to bring a constitutional tort claim against the United States under the Federal Tort
11     Claims Act, or assert that the Constitution itself furnishes a nondiscretionary standard of
12     medical care that is actionable under the FTCA in the event such care is not provided, such
13     claim is entirely jurisdictionally barred.” Id. at. 688.
14           The Court should decline to engage in the sort of “second-guessing” and inquiry
15     into government actors’ intent in making policy decisions that the discretionary function
16     exception was designed to prevent. See Berkovitz, 486 U.S. at 536. The Complaint alleges
17     that federal officials targeted Central American asylum seekers, like the Plaintiff, for
18     separation “in order to deter them from pursuing legitimate immigration claims”
19     (Complaint ¶ 63), and that government officials “chose to inflict immense emotional pain,
20     suffering, and trauma on parents and their young children in service of their policy
21     objective” (id. ¶ 2). See also id. ¶¶ 2, 6, 11, 12, 18, 19, 56, 59, 63, 64 (repeating similar
22     allegations).
23           Such allegations regarding “government officials’ intent or decisionmaking
24     process” are indicative of precisely the sort of claims the discretionary function exception
25     prohibits.      See Lam v. United States, 979 F.3d 665, 673 (9th Cir. 2020) (“The
26     [discretionary function exception] is intended to prevent ‘judicial second-guessing of
27     legislative and administrative decisions grounded in social, economic, and political policy
28     through the medium of an action in tort.’”) (citing United States v. S. A. Empresa De
                                                     12
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 1     Viacao Aerea Rio Grandense (Varig Airlines), 467 U.S. 797, 814 (1984)).
 2            Moreover, consistent with the FTCA provisions barring claims for constitutional
 3     torts, the FTCA’s discretionary function exception precludes government liability for
 4     discretionary decision-making even where the government is alleged to have acted
 5     unconstitutionally. See, e.g., Linder v. United States, 937 F.3d 1087, 1090 (7th Cir. 2019)
 6     (“the theme that ‘no one has discretion to violate the Constitution’ has nothing to do with
 7     the Federal Tort Claims Act, which does not apply to constitutional violations”).6
 8                   Plaintiff’s Claims Are Barred by the FTCA’s Due Care Exception
 9            Plaintiff’s claims also are barred by the FTCA’s “due care exception,” which bars
10     “[a]ny claim based upon an act or omission of an employee of the Government, exercising
11     due care, in the execution of a statute or regulation, whether or not such statute or
12     regulation be valid.” 28 U.S.C. § 2680(a). Thus, “[w]here government employees act
13     pursuant to and in furtherance of regulations, resulting harm is not compensable under the
14     act[.]” Dupree v. United States, 247 F.2d 819, 824 (3d Cir. 1957). See also Accardi v.
15     United States, 435 F.2d 1239, 1241 (3d Cir. 1970) (claim based on “enforcement of ‘rules
16     and regulations’” barred by due care exception).
17            Among other things, this exception “bars tests by tort action of the legality of
18     statutes and regulations.” Dalehite v. United States, 346 U.S. 15, 33 (1953). See also H.R.
19
20            6
                 At the time the separation occurred here, there was no case law clearly establishing a due process
21     right to family integrity while in immigration detention. To the contrary, the issue was squarely addressed
       by the Fourth Circuit, which found that no such right exists. See Reyna as next friend of J.F.G. v. Hott,
22     921 F.3d 204, 210-11 (4th Cir. 2019) (“[W]e . . . have been unable to find a substantive due process right
       to family unity in the context of immigration detention pending removal.”); Dominguez-Portillo, 2018
23     WL 315759, at *6 (noting “lack of clearly established parental rights in these circumstances and under
       case law”). In addition, courts had held that separating alien parents from their citizen children through
24     deportation did not violate the Constitution. E.g., Marin-Garcia Holder, 647 F.3d 666, 674 (7th Cir.
25     2011) (“nothing in the Constitution prohibits” separation of citizen children from parents when parents
       deported); Payne-Barahana v. Gonzales, 474 F.3d 1, 2 & n.1 (1st Cir. 2007) (“The circuits that have
26     addressed the constitutional issue (under varying incarnations of the immigration laws and in varying
       procedural postures) have uniformly held that a parent’s otherwise valid deportation does not violate a
27     child’s constitutional right.”).
28
                                                           13
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 1     Rep. No. 77-2245, 77th Cong., 2d Sess., at 10 (noting that it was not “desirable or intended
 2     that the constitutionality of legislation, or the legality of a rule or regulation should be
 3     tested through the medium of a damage suit for tort”); Powell v. United States, 233 F.2d
 4     851, 855 (10th Cir. 1956) (due care exception barred claims based on employees’ acts
 5     “performed under and in furtherance of the regulation . . . even though the regulation may
 6     be irregular or ineffective”). Accordingly, where a government employee’s actions are
 7     authorized by statute or regulation, the due care exception applies, and the claim must be
 8     dismissed for lack of subject matter jurisdiction.
 9            The due care exception likewise bars Plaintiff’s claims because the United States
10     plainly had the statutory authority to determine whether and where to detain Plaintiff after
11     he entered the country illegally, see 8 U.S.C. §§ 1225, 1226(a), 1231(g)(1), as well as the
12     authority (and, indeed duty) to place his minor children in the custody and care of ORR
13     while he was detained, see 8 U.S.C. §§ 1232(b)(3), 1232(c)(2)(A), 8 U.S.C. § 279(g). 7 In
14     addition, Plaintiff’s unlawful entry occurred at a time when the Executive Orders and other
15     executive branch directives cited above instructed federal agencies to strictly enforce
16     federal immigration statutes, including referring adult aliens for detention of adult aliens
17     pending removal proceedings. Enforcement of immigration laws in a way authorized by
18     statute cannot form the basis of an FTCA claim.
19                   Plaintiff’s Claims Are Barred Because There Is No Private Analog
20            Plaintiff’s claims also fail because the government acts that Plaintiff attacks have
21     no private person analog. The FTCA requires that Plaintiff allege “circumstances where
22            7
                 As noted above, the statutory UAC definition is a broad one that includes an assessment of
23     parental fitness in determining if the parent is “available.” For example, in D.B. v. Cardall, 826 F.3d 721,
       734 (4th Cir. 2016), the court upheld the government’s determination that a minor was an
24     “unaccompanied alien child” and affirmed transfer to ORR custody even though the minor lived with the
       mother in their family home because the mother’s lack of fitness precluded her from “provid[ing] what
25     is necessary for the child’s health, welfare, maintenance, and protection. Moreover, because the instant
26     Plaintiff was housed in a secure facility, whether or not his children were UACs, the Flores Agreement
       precluded detention of the children in such a facility. Under Flores, “[DHS] must transfer the minor to a
27     non-secure, licensed facility.” Flores, 828 F.3d at 902-03. Thus, even if the children were not UACs,
       under Flores, the separation still would have occurred once the government exercised its discretion to
28     detain Plaintiff in a secure detention facility.
                                                           14
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 1     the United States, if a private person, would be liable to the claimant in accordance with
 2     the law of the place where the act or omission occurred.” 28 U.S.C. § 1346(b)(1). The
 3     statute authorizes tort recovery against the United States only “in the same manner and to
 4     the same extent as a private individual under like circumstances.” 28 U.S.C. § 2674.
 5           Accordingly, the FTCA “requires a court to look to the state-law liability of
 6     private entities, not to that of public entities, when assessing liability under the FTCA.”
 7     United States v. Olson, 546 U.S. 43, 45- 46 (2005) (internal quotations omitted). See also
 8     Elgamal v. Bernacke, 714 Fed. App’x 741, 742 (9th Cir. 2018) (dismissing claim for
 9     negligent denial of an immigration status adjustment application due to the lack of a
10     private person analog)); Air Shuttle Corp. v. United States, 112 F.3d 532, 537 (1st Cir.
11     1997) (decision to take enforcement action under federal law was not conduct for which
12     private individual could be held liable and thus did not give rise to FTCA action);
13     McGowan v. United States, 825 F.3d 118, 127 (2d Cir. 2016) (“[p]rivate persons cannot
14     establish facilities to detain other persons – only the government can, either on its own or
15     through a government contractor.”). 8
16                 In the Alternative, this Action should be Transferred to the Southern
17                 District of Texas
18           Pursuant to 28 U.S.C. § 1402(b), an FTCA action “may be prosecuted only in the
19     judicial district where the plaintiff resides or wherein the act or omission complained of
20     occurred.” Although Plaintiff alleges that he is domiciled in Altadena, California,
21     Complaint ¶ 15, he does not “reside” in the Central District of California as that term of
22     art is defined for venue purposes. Residency, for all purposes of establishing venue, is
23     defined by 28 U.S.C. § 1391(c)(1) which provides: that:
24
             8
                To the extent Plaintiff seeks to recover for negligent infliction of emotional
25
       distress for actions that federal employees took in Texas, his complaint fails to state a
26     claim upon which relief can be granted. See Verinakis v. Med. Profiles, Inc., 987 S.W.2d
27     90, 94 (Tex. App. 1998) (Texas does not recognize a general legal duty to avoid
       negligently inflicting mental anguish); Boyles v. Kerr 855 S.W.2d 593, 597 (Tex. 1993)
28     (“[T]here is no general duty not to negligently inflict emotional distress.”).
                                                    15
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 1           For all venue purposes- (1) a natural person, including an alien lawfully admitted
 2           for permanent residence in the United States, shall be deemed to reside in the
 3           judicial district in which that person is domiciled. (emphasis added).
 4     The Supreme Court has long recognized that, for venue purposes, an alien is “assumed
 5     not to reside in the United States.” See Galveston, H. & S.A. Ry. Co. v. Gonzales, 151
 6     U.S. 496, 506-07 (1894).
 7           In Najera v. United States, No. 16-cv-459, 2016 WL 6877069, at *6 (E.D. Va.
 8     Nov. 22, 2016), the court found that a citizen of Honduras was an alien for purposes of
 9     venue and thus his claims were improperly filed in the Eastern District of Virginia and
10     transferred to other venues. Id. at *7; see also J.P. v. Sessions, No. LA CV1806081 JAK
11     (SKx), 2019 WL 6723686, at *43 (C.D. Cal. Nov. 5, 2019) (“Courts have determined
12     that non-citizens, including those who [are] not lawful permanent residents, do not reside
13     in any district of the United States for purposes of venue.”).
14           The instant Plaintiff has never alleged that he is now, nor has he been, lawfully
15     admitted for permanent residency in the Central District of California. Thus, he must
16     pursue his claims where the events occurred-- the Southern District of Texas. See 28
17     U.S.C. § 1402(b), 1406(a). In the event that the Court is not inclined to dismiss this
18     action, the United States hereby moves to transfer this case to the Southern District of
19     Texas.
20     IV.   CONCLUSION
21           For the foregoing reasons, this action should be dismissed. Defendant requests that
22     the Court dismiss Plaintiff’s action without leave to amend. See Taylor v. United States
23     //
24     //
25     //
26     //
27     //
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 1     v. PTO, 551 Fed. Appx. 341 (9th Cir. 2013) (a district court does not abuse its discretion
 2     by denying leave to amend a complaint when doing so would be futile).
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